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  6                          UNITED STATES DISTRICT COURT
  7                       SOUTHERN DISTRICT OF CALIFORNIA
  8
  9    UNITED STATES OF AMERICA,                             CASE NO. 09CR2582 WQH
 10                                       Plaintiff,         ORDER
              vs.
 11
       MATTHEW “BEAU” LA MADRID (1),
 12    LANCE LA MADRID (2),
                              Defendant.
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 14
      HAYES, Judge,
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             The matters before the Court are: 1) the motion to dismiss the indictment filed by
 16
      Defendant Matthew La Madrid, ECF No. 124-2; and 2) the motion to dismiss indictment or
 17
      for a bill of particulars filed by Defendant Lance La Madrid, ECF No. 125.
 18
                                           BACKGROUND
 19
             On July 7, 2009, the grand jury returned an indictment charging the Defendant in Count
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      1 with conspiracy to commit offenses against the United States including mail fraud, wire
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      fraud, and bank fraud; in Counts 2 through 12 with mail fraud; in Counts 13 through 19 with
 22
      wire fraud; in Counts 20 through 23 with bank fraud; in Counts 24 through 28 with money
 23
      laundering; and in Count 29 with obstruction of justice. The indictment charges that the
 24
      Defendant and his co-defendants engaged in a fraudulent scheme involving more than 78
 25
      million dollars to defraud hundreds of investors and numerous financial institutions.
 26
                                           ANALYSIS
 27
      1) motion to dismiss the indictment ECF No. 124-2
 28
             Defendant Matthew La Madrid moves the Court to dismiss the indictment on the

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  1   grounds that the July 2007 grand jury proceedings were constitutionally defective. Defendant
  2   “[w]ishes to preserve this issue for possible further review and adopts the rationale set forth
  3   in the dissent in United States v. Navarro-Vargas, 408 F.3d 1184, 1209 (9th Cir. 2005)(en
  4   banc)(Hawkins, J. dissenting).” ECF No. 124-1 at 3.
  5          Defendant does not identify any specific issues raised by the July 2007 grand jury
  6   proceedings but attaches the July 26, 2007 grand jury instructions as Exhibit A. The record
  7   in this case does not contain any evidence that any instruction given to the grand jury on July
  8   26, 2007 nullified the grand jury’s inherent power to refuse to indict for any reason or
  9   substantially infringed on the fundamental fairness of the proceeding or the independence of
 10   the grand jury.
 11   2) motion to dismiss indictment or for a bill of particulars ECF No. 125
 12          Defendant Lance La Madrid moves the Court to dismiss the indictment for a lack of
 13   sufficiency. Defendant contends that the indictment fails to identify the number of victims of
 14   the alleged conspiracy, and the actual loss from the alleged overt acts. In the alternative,
 15   Defendant requests that the Court direct the filing of a bill of particulars “identifying each and
 16   every instance wherein Lance Madrid took such actions that make him liable for any of the
 17   alleged acts.” ECF No. 125 at 4.
 18          The Government asserts that the indictment specifies the charging statutes and sets forth
 19   the required elements of each offense. The Government asserts that the indictment is
 20   sufficiently precise to inform the Defendant of the nature of the charges and that a bill of
 21   particulars is not necessary.
 22          An indictment is a “plain, concise, and definite written statement of the essential facts
 23   constituting the offense charged.” Fed.R.Crim.P. 7(c)(1). A legally sufficient indictment must
 24   state the elements of the offense charged with sufficient clarity to apprise a defendant of the
 25   charge against which he must defend and to enable him to plead double jeopardy. See United
 26   States v. Givens, 767 F.2d 574, 584 (9th Cir. 1985). An indictment which tracks the words of
 27   the statute charging the offense is sufficient so long as the words unambiguously set forth all
 28   elements necessary to constitute the offense. See Hamling v. United States, 418 U.S. 87, 117


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  1   (1974). “The test of sufficiency of the indictment is not whether it could have been framed in
  2   a more satisfactory manner, but whether it conforms to minimal constitutional standards.”
  3   United States v. Awad, 551 F.3d 930, 935 (9th Cir. 2009) (quotation and citation omitted).
  4          The indictment in this case tracks the language of each statute charged and set forth the
  5   required elements of each offense. The indictment adequately alleges the manner and means
  6   of the alleged conspiracy and the overt acts provide further description of the alleged mail
  7   fraud, wire fraud, and bank fraud charges against the Defendant. The Court concludes that the
  8   charges in the indictment are stated with sufficient clarity to apprise the Defendant of the
  9   charges against which he must defend and to enable him to plead double jeopardy.
 10          Fed. R. Crim. P. 7(f) authorizes the court to “direct the filing of a bill of particulars.”
 11   The test for granting a bill of particulars is whether the indictment is so vague that a bill of
 12   particulars is required. United States v. Giese, 597 F.2d 1170, 1180 (9th Cir. 1979). Full
 13   discovery obviates the need for a bill of particulars. Id. In this case, the Court concludes that
 14   there are no facts or circumstances which would require a bill of particulars.
 15          IT IS HEREBY ORDERED that 1) the motion to dismiss the indictment filed by
 16   Defendant Matthew La Madrid, ECF No. 124-2 is denied; and 2) the motion to dismiss
 17   indictment or for a bill of particulars filed by Defendant Lance La Madrid, ECF No. 125 is
 18   denied.
 19   DATED: September 27, 2010
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                                                       WILLIAM Q. HAYES
 21                                                   United States District Judge
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